

People v DeSilva (2023 NY Slip Op 05451)





People v DeSilva


2023 NY Slip Op 05451


Decided on October 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 26, 2023

Before: Webber, J.P., Moulton, González, Kennedy, JJ. 


Ind No. 4480/17 Appeal No. 905 Case No. 2019-03707 

[*1]The People of the State of New York, Respondent,
vShakim DeSilva, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Nao Terai of counsel), for appellant.



Judgment, Supreme Court, New York County (Barry E. Warhit, J.), rendered June 4, 2019, convicting defendant, upon his plea of guilty, of robbery in the second degree, and sentencing him to a term of four years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 26, 2023








